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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  H. B.
                                                       Case No. 2:21-cv-20706
                 Plaintiff,

           v.

 Baila Sebrow

                 Defendant

    CERTIFICATE OF SERVICE OF NOTICE OF A LAWSUIT AND REQUEST TO
      WAIVE SERVICE OF A SUMMONS ON DEFENDANT BAILA SEBROW


                The undersigned certifies that on December 29, 2021, a true and correct copy of

the Summons and Complaint, a Notice of a Lawsuit and Request to Waive Service of a

Summons and two copies of a Waiver of the Service of Summons, and a prepaid USPS Priority

Mail Envelope were served on the Defendant, Baila Sebrow, by United States Mail Priority Mail,

Postage Prepaid (9405 5036 9930 0119 8438 49) to the said Defendant at 12 Beechwood Dr.,

Lawrence, New York 11559. I certify under penalty of perjury that the foregoing is true and

correct.


Dated: February 8, 2022
       New York, New York
                                                     Respectfully submitted,

                                                     /s/Daniel Szalkiewicz
                                             By:     Daniel S. Szalkiewicz, Esq. (DS2323)


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